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4                          IN THE UNITED STATES DISTRICT COURT
5                        FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7     UNITED STATES OF AMERICA,                    Case No.: 1:15CR00288-005 LJO
8                         Plaintiff,               ORDER OF RELEASE
9          v.
10    CAESAR ALEJANDRO GOMEZ,
11                        Defendant.
12

13
            The above-named defendant having been sentenced on October 7, 2019,
14

15          IT IS HEREBY ORDERED that the defendant shall be released on Monday, October 14,

16   2019 at 8:30am. A certified Judgment and Commitment order to follow.
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     IT IS SO ORDERED.
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21      Dated:    October 8, 2019                      /s/ Lawrence J. O’Neill _____
                                               UNITED STATES CHIEF DISTRICT JUDGE
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